Case 2:05-cr-20056-SHM Document 45 Filed 09/01/05 115-age 1 of 3 Page|D 55

lN THE uNrrED sTATEs nlsTRlcT couRT F.Lz_-D ev 101€{1):.
FoR THE wEsTERN nlsTRlcT oF TENNESSEE
wEsTERN DlvlsloN mss£p -\ AH 91 31
uNlTED sTATEs oF AMERch, 211 13
nl I_"’\hj \u\.) 9 _) H{:_LQGUY
Plaintiff, cR. No. 05-20056-Ma 1119 1 111 15

VS.

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wlLLlE ANDRA woons, )
TYRoNE LANARD TERRY, )
RoNDAvlous ADAMS, )
TERRELL BRowN, )
GERRV BuNTYN, )
AARoN coBB, )
DEMoNE chKERsoN, )
TERR¥ chKERsoN, )
PATRch DouGLAs, )
JEssE DREW, )
MALLoRY DREW, )
TARlus FREEMAN, )
KoREY GRANDBERR¥, )
RoNNlE HARRls, )
ANTHoNY HERRoN, )
JERMA|NE HoesoN, )
MAuRlcE JAcKsoN, )
RoDNEY sHANELL JoHNsoN, )
DARRch JoNEs, )
LlNARD LlTTLE, )
DEMETRlus McGEE, )
AsA McKlNNlE, )
MARcus MELToN, )
LloNEL MoRToN, )
MELle NEAL, )
JoHN wEsT NELSoN JR., )
DARRoN owENs, )
JoHN ALoNzo sHAw, )
wENDELL lelNG sHlELDs, )
TonlN TERRY, )

Thfs document entered on the docket heat In compliance
with Rule 55 and/or 32lb} FHCrP on ci'

 

Case 2:05-cr-20056-SH|\/| Document 45 Filed 09/01/05 Page 2 of 3 Page|D 56

JOHN FREDR|CK THOMPSON,
ELMODEST TOWLES,
MlCHAEL DEWAYNE TURNER, )

ORDER

 

The United States having requested that the Court unseal the Superseding
|ndictment, and the Court being satisfied that sealing is no longer necessary, it is
hereby

ORDERED that ali of the above document is UNSEALED.

1:3""1" deem z ZMW

Memphis, e@;,e/e'/ UN|TED STATES MAG|STRATE JUDGE

APPROVED: ?%/
homes A. Coithurst

Assistant U.S. Attorney

 

 

OF TENNESSEE

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William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

J ames O. Marty

LAW OFFICE OF JAi\/[ES MARTY
245 EXchange Ave.

Memphis7 TN 38105

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

